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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

In the Matter of the Complaint of              )
                                               )
BOAT AARON & MELISSA, INC., as owner of )                   Civil Action No.:
the F/V EMMY ROSE (O.N. 909149), a 80’ fishing )
vessel, for Exoneration From, or Limitation of )            IN ADMIRALTY
Liability.                                     )

                                    VERIFIED COMPLAINT

       Plaintiff, Boat Aaron & Melissa, Inc. (“BAM”), as owner of the F/V EMMY ROSE

(O.N. 909149), an 80’ fishing vessel (“Vessel”), petitions this Honorable Court for Exoneration

from or Limitation of Liability pursuant to the Limitation of Shipowner’s Liability Act, 46

U.S.C. §§ 30501 through 30512, and Supplemental Rule F of the Federal Rules of Civil

Procedure, averring as follows:

                                       JURISDICTION

   1. This is a Complaint for Exoneration from and/or Limitation of Liability pursuant to 46

       U.S.C. §§ 30501, et seq., and Supplemental Admiralty Rule F. This Court has admiralty

       and maritime jurisdiction within the meaning of Rule 9(h) of the Federal Rules of Civil

       Procedure and 28 U.S.C. § 1333.

                                            VENUE

   2. Venue is proper in the District of Maine pursuant to Supplemental Rule F(9) because the

       Vessel is not within any district and no suit has been commenced in any district and as

       such the complaint may be filed in any district. Further, BAM is a Maine corporation,

       most of the witnesses are within the District, and the Vessel was home-ported within the

       District.




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                                         PARTIES

 3. BAM is a Maine Corporation with a principal office in Maine.

 4. BAM is the owner of the Vessel.

 5. Upon information and belief, Robert Blethen, Jr. (“Blethen”), is a Maine resident.

 6. Upon information and belief, Jeffrey Matthews (“Matthews”), is a Maine resident.

 7. Upon information and belief, Ethan Ward (“Ward”), is a Maine resident.

 8. Upon information and belief, Michael Porper (“Porper”), is a Massachusetts resident.

                                STATEMENT OF FACTS

 9. On November 18, 2020, the Vessel departed the port of Portland, Maine, on a fishing trip

    with Blethen as captain and Matthews, Ward and Porper as the crew.

 10. At all material times prior to its casualty, the Vessel, its appurtenances and crew were

    seaworthy, tight, staunch, strong and fit.

 11. During the evening hours of November 22, 2020, the crew of the Vessel communicated

    with various individuals, in essence stating that the Vessel was headed to Gloucester,

    Massachusetts, to unload its catch without any mention of any problems with the Vessel.

 12. At approximately 0130 hours on November 23, 2020, the Vessel’s EPIRB emitted an

    emergency ping at a location in the Atlantic Ocean, approximately 27 nautical miles

    Northeast of Provincetown, Massachusetts, that was heard and recorded by the United

    States Coast Guard (“USCG”).

 13. The USCG undertook immediate and extensive efforts to locate the Vessel and crew.

 14. Unfortunately, the USCG called off the rescue efforts on November 24, 2020, declaring

    the crew lost at sea and presumed dead.




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 15. At all times material hereto, the Vessel and its appurtenances were operated and utilized

    in a seaworthy fashion by BAM.

 16. The post-casualty value of the F/V EMMY ROSE where she lies in approximately 800

    feet of water in the Atlantic Ocean is $0.00. There was no freight pending at the time of

    the sinking.

 17. The loss of the Vessel and any and all deaths, injuries, damages, and losses claimed to

    have resulted therefrom, were not caused or contributed to by any breach of applicable

    statutes or regulations, or any unseaworthiness, fault, neglect, or lack of reasonable care

    by or on the part of the Vessel or BAM.

 18. Alternatively, any breach of applicable statutes or regulations, or any unseaworthiness,

    fault, neglect, or lack of reasonable care by or on the part of the Vessel or BAM that

    might have contributed to any and all alleged deaths, injuries, damages, and losses were

    occasioned and incurred without the privity or knowledge of BAM and/or were

    occasioned and incurred due to the fault of third-parties for which BAM is not

    responsible.

 19. Both Porper and Matthews, through their respective counsel, have provided notices of

    claim by way of written communications, with the earlier communication coming on

    November 27, 2020.

 20. Pursuant to Supplemental Rule F(1), this Complaint is timely filed.

 21. BAM does not know the total amount of the claims that may be made for deaths, injuries,

    damages, and losses that resulted from the sinking.

 22. BAM expects that formal claims based on those deaths, injuries, damages, and losses will

    be presented in due course and that the total claims will exceed the limitation fund.



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 23. According to the Declaration of Neil Rosen, filed herewith, the Vessel is a total loss with

    a post-casualty value of $0.00.

                             EXONERATION/LIMITATION

 24. BAM seeks exoneration from liability for any and all deaths, injuries, damages, and

    losses of any kind arising from the loss of Vessel on the Atlantic Ocean on or about

    November 23, 2020, as well as any other claimed losses incurred by others that have been

    and/or may hereafter be made and avers that it has valid defenses on the facts and the

    law.

 25. BAM alternatively seeks limitation of its liability pursuant to the Limitation of

    Shipowner’s Liability Act, 46 U.S.C. § 30501 et. seq., Supplemental Rule F, the various

    statutes amendatory thereof and supplementary thereto, and case law, and to that end it

    files herewith a Stipulation re: Security for costs equal to $1,000.00 for payment into

    Court as ordered.

                                      RELIEF SOUGHT

    WHEREFORE Plaintiff, Boat Aaron and Melissa, Inc., requests the following relief:

 1. The Court approve Plaintiff’s Security for Costs ($1,000.00) in the total amount of

    $1,000.00, which represents (a) the zero value of the F/V EMMY ROSE after the on-or-

    about November 23, 2020, sinking and (b) Plaintiff’s obligation to give costs, in

    compliance with Supplemental Rule F(1) of the Federal Rules of Civil Procedure;

 2. That on approving that security, the Court enter an injunctive order pursuant to

    Supplemental Rule F(3) and 46 U.S.C. § 30511(c) ceasing and enjoining all lawsuits,

    causes of action, and claims against Plaintiff and its property arising from the on-or-about

    November 23, 2020, sinking, except in this civil action;



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 3. That Plaintiff serves a copy of that injunctive order on the persons to be enjoined or their

    lawyer;

 4. That the Court enter an order directing the issuance of a Notice to claimants, pursuant to

    Supplemental Rule F(4);

 5. That the Court adjudge Plaintiff not liable for any and all deaths, injuries, damages, or

    losses arising from the sinking and other losses sustained but if Plaintiff is held liable in

    any part, its liability shall be limited at a maximum to the zero value of the F/V EMMY

    ROSE after the on-or-about November 23, 2020, sinking, and that Plaintiff be discharged

    from any such liability upon the surrender of such interest, and that the money

    surrendered, secured, or to be paid as aforesaid be divided pro rata among such claimants

    as may duly prove their claims, saving to all parties any priorities to which they may be

    legally entitled, and that judgment may be entered discharging Plaintiff from all further

    liability; and

 6. That Plaintiff be provided such other and further relief as the Court may

    deem just and proper.

                                                       Respectfully submitted,
                                                       BOAT AARON & MELISSA, INC.,
                                                       By its counsel,

                                                       /s/ David S. Smith
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